                Case 19-10888-KHK                     Doc         Filed 05/07/24 Entered 05/07/24 17:42:24                                     Desc Main
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 .Fill in this information to identify the case:
     Debtor1                 Mark Anthony Anderson

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the : EASTERN District of Virginia
                                                               (State)
     Case number 19-10888-KHK


Form 4100R
Response to Notice of Final Cure                                                                    10/15
___________________________________________________________________________________________________________
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.

 Part 1:             Mortgage Information


     Name of creditor: NewRez LLC d/b/a Shellpoint Mortgage Servicing                                                                     Court claim no. (if known): 5
     Last 4 digits of any number you use to identify the debtor’s account: 1378

     Property address:              1411 ADMIRAL DR ,
                                    Number           Street

                                    WOODBRIDGE, VA 22192
                                    City                               State          ZIP Code
 Part 2:             Prepetition Default Payments

 Check one:

     [X]         Creditor agrees that the debtor(s) have paid in full amount required to cure the prepetition default on the creditor’s
                 claim

     [ ]         Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
                 creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this response is:
                                                                                                                                                  $___________
 .


 Part 3:             Postpetition Mortgage

 Check one:

     [ ]         Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
                 Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

                 The next postpetition payment from the debtor(s) is due on:                  ____/____/______
                                                                                              MM/DD/YYYY

     [X]         Creditor states that the debtors are not current on all postpetition payments consistent with § 1322 (b)(5) of the
                 Bankruptcy Code, including all fees charges expenses, escrow, and costs.

                 Creditor asserts that the total amount remaining unpaid as of the date of this response is:
                 a. Total postpetition ongoing payments due:                                                                                       (a) $60,020.69
                 b. Total suspense:                                                                                                               - (b) $560.12
                 c. Total. Subtract lines a and b.
                                                                                                                                                   (c) $59,460.57
                 Creditor asserts that the debtor(s) are contractually
                 obligated for the postpetition payment(s) that first became
                 due on:                                                                      _10___/_1___/_2021____
                                                                                              MM/ DD/ YYYY




 Form 4100R                                             Response to Notice of Final Cure Payment                                                                  page 1
                   Case 19-10888-KHK                             Doc   Filed 05/07/24 Entered 05/07/24 17:42:24                      Desc Main
Debtor 1       Mark Anthony Anderson                                   Document Case Page 2 of
                                                                                       number      4
                                                                                              (if known) 19-10888-KHK
               First Name         Middle Name            Last Name




Part 4:      Itemized Payment History


If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in
Part 3 that the debtor(s) are not current with all postpetition payments, including all fees, charges
expenses, escrow, and costs, the creditor must attach an itemized payment history disclosing the
following amounts from the date of the bankruptcy filing through the date of this response:

[X] all payments received;
[X] all fees, costs, escrow, and expenses assessed to the mortgage; and
[X] all amounts the creditor contends remain unpaid


Part 5:      Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.

               X      /s/ Sydney Marie Cauthen                                                      Date 05/07/2024
                      Signature



 Print                Sydney Marie Cauthen                                                          Title Authorized Agent
                      First Name         Middle Name                      Last Name


 Company              Robertson, Anschutz, Schneid, Crane & Partners, PLLC

If different from the notice address listed on the proof of claim to which this response applies:



 Address              13010 Morris Road, Suite 450
                      Number                    Street


                      Alpharetta, GA 30004
                      City                               State                ZIP Code


 Contact              470-321-7112                                                                                 Email: scauthen@raslg.com




Form 4100R                                               Response to Notice of Final Cure Payment                                              page 2
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                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on May 7, 2024 I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, and a true and correct copy has been served
via United States Mail to the following:

Mark Anthony Anderson
1411 Admiral Drive
Woodbridge, VA 22192

And via electronic mail to:

Nathan A. Fisher
Fisher-Sandler, LLC
3977 Chain Bridge Road, #2
Fairfax, VA 22030

Thomas P. Gorman
Thomas P. Gorman, Chapter 13 Trustee
1414 Prince St.
Ste. 202
Alexandria, VA 22314

Gerard R. Vetter
Office of the U.S. Trustee - Region 4
1725 Duke Street
Suite 650
Alexandria, VA 22314

                                                    By: /s/ Jessica Norton

                                                    Email: jnorton@raslg.com




 Form 4100R                           Response to Notice of Final Cure Payment                 page 3
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Post-Petition                                                                               Suspense
              Effective Date Amount Received         Amount Due           Credit                            Suspense Balance
  Due date                                                                                 Application
                                                                                                                                Loan Number
     9/1/2019       9/11/2019        $1,900.00            $1,871.82                    $           28.18    $          28.18    Debtor                            ANDERSON
    10/1/2019       10/4/2019        $1,900.00            $1,871.82                    $           28.18    $          56.36    BK filed date                         3/20/2019
    11/1/2019      11/15/2019        $1,871.82            $1,871.82                    $             -      $          56.36    BK Case #                             19-10888
    12/1/2019      12/11/2019        $1,900.00            $1,871.82                    $           28.18    $          84.54    NOFC Filed Date                       4/16/2024
     1/1/2020       1/14/2020        $1,871.82            $1,871.82                    $             -      $          84.54    BK Claim Number(s)                         #5-1
     2/1/2020       2/24/2020        $1,871.82            $1,871.82                    $             -      $          84.54    Trustee Claim Number(s)           001 and 001A
     3/1/2020       4/10/2020        $1,871.82            $1,871.82                    $             -      $          84.54    Post Next Due                       10/1/2021
     4/1/2020       6/30/2020        $3,743.64            $1,871.82                    $        1,871.82    $       1,956.36    Suspense                    $          560.12
     5/1/2020                                             $1,871.82                    $       (1,871.82)   $          84.54
     6/1/2020        7/15/2020       $1,871.32            $1,871.82                    $           (0.50)   $          84.04
     7/1/2020        8/11/2020       $1,893.05            $1,871.82                    $           21.23    $         105.27
     8/1/2020        9/12/2020       $1,871.82            $1,871.82                    $             -      $         105.27
     9/1/2020        10/5/2020       $1,871.82            $1,871.82                    $             -      $         105.27            Due Date                Due Amount        Credit # Months      Total Due
    10/1/2020        11/9/2020       $1,871.82            $1,871.82                    $             -      $         105.27                    10/1/2021             $1,875.29                 1  $         1,875.29
    11/1/2020        12/7/2020       $1,871.82            $1,871.82                    $             -      $         105.27                    11/1/2021             $1,875.29                 1  $         1,875.29
    12/1/2020         2/8/2021       $1,871.82            $1,871.82                    $             -      $         105.27                    12/1/2021             $1,875.29                 1  $         1,875.29
     1/1/2021        3/10/2021       $1,875.29            $1,875.29                    $             -      $         105.27         1/1/2022 - 12/1/2022             $1,876.10                12  $       22,513.20
     2/1/2021         4/6/2021       $1,875.29            $1,875.29                    $             -      $         105.27         1/1/2023 - 12/1/2023           $1,871.41                  12  $       22,456.92
     3/1/2021         6/1/2021       $1,875.29            $1,875.29                    $             -      $         105.27                     1/1/2024           $1,884.94                   1  $         1,884.94
     4/1/2021        7/13/2021       $1,875.29            $1,875.29                    $             -      $         105.27                     2/1/2024           $1,884.94                   1  $         1,884.94
     5/1/2021        7/31/2021       $1,875.29            $1,875.29                    $             -      $         105.27                     3/1/2024           $1,884.94                   1  $         1,884.94
     6/1/2021        9/21/2021       $1,875.29            $1,875.29                    $             -      $         105.27                     4/1/2024           $1,884.94                   1  $         1,884.94
     7/1/2021        1/10/2022       $2,000.00            $1,875.29                    $          124.71    $         229.98                     5/1/2024           $1,884.94                   1  $         1,884.94
     8/1/2021         5/2/2022       $1,900.00            $1,875.29                    $           24.71    $         254.69                                                                       $              -
     9/1/2021        5/13/2022       $1,900.00            $1,875.29                    $           24.71    $         279.40                                                                       $              -
                Creditor Adv           $280.72                                         $          280.72    $         560.12                                                                       $              -
    10/1/2021                                             $1,875.29                    $       (1,875.29)   $      (1,315.17)                                                             Subtotal $       60,020.69
    11/1/2021                                             $1,875.29                    $       (1,875.29)   $      (3,190.46)                                                      Less Unapplied $            560.12
    12/1/2021                                             $1,875.29                    $       (1,875.29)   $      (5,065.75)                                              Total to bring current $        59,460.57
     1/1/2022                                             $1,876.10                    $       (1,876.10)   $      (6,941.85)
     2/1/2022                                             $1,876.10                    $       (1,876.10)   $      (8,817.95)
     3/1/2022                                             $1,876.10                    $       (1,876.10)   $     (10,694.05)   $               60,020.69
     4/1/2022                                             $1,876.10                    $       (1,876.10)   $     (12,570.15)   $              (59,460.57)
     5/1/2022                                             $1,876.10                    $       (1,876.10)   $     (14,446.25)   $                  560.12 unapplied
     6/1/2022                                             $1,876.10                    $       (1,876.10)   $     (16,322.35)
     7/1/2022                                             $1,876.10                    $       (1,876.10)   $     (18,198.45)
     8/1/2022                                             $1,876.10                    $       (1,876.10)   $     (20,074.55)   Payment Address:
     9/1/2022                                             $1,876.10                    $       (1,876.10)   $     (21,950.65)   Shellpoint Mortgage Servicing
    10/1/2022                                             $1,876.10                    $       (1,876.10)   $     (23,826.75)   P.O. Box 650840
    11/1/2022                                             $1,876.10                    $       (1,876.10)   $     (25,702.85)   Dallas, TX 75265-0840
    12/1/2022                                             $1,876.10                    $       (1,876.10)   $     (27,578.95)
     1/1/2023                                             $1,871.41                    $       (1,871.41)   $     (29,450.36)   Overnight Payment Address:
     2/1/2023                                             $1,871.41                    $       (1,871.41)   $     (31,321.77)   Shellpoint Mortgage Servicing
     3/1/2023                                             $1,871.41                    $       (1,871.41)   $     (33,193.18)   Attn Payment Processing
     4/1/2023                                             $1,871.41                    $       (1,871.41)   $     (35,064.59)   75 Beattie Place Ste LL202
     5/1/2023                                             $1,871.41                    $       (1,871.41)   $     (36,936.00)   Greenville, SC 29601
     6/1/2023                                             $1,871.41                    $       (1,871.41)   $     (38,807.41)
     7/1/2023                                             $1,871.41                    $       (1,871.41)   $     (40,678.82)
     8/1/2023                                             $1,871.41                    $       (1,871.41)   $     (42,550.23)
     9/1/2023                                             $1,871.41                    $       (1,871.41)   $     (44,421.64)
    10/1/2023                                             $1,871.41                    $       (1,871.41)   $     (46,293.05)
    11/1/2023                                             $1,871.41                    $       (1,871.41)   $     (48,164.46)
    12/1/2023                                             $1,871.41                    $       (1,871.41)   $     (50,035.87)
     1/1/2024                                             $1,884.94                    $       (1,884.94)   $     (51,920.81)
     2/1/2024                                             $1,884.94                    $       (1,884.94)   $     (53,805.75)
     3/1/2024                                             $1,884.94                    $       (1,884.94)   $     (55,690.69)
     4/1/2024                                             $1,884.94                    $       (1,884.94)   $     (57,575.63)
     5/1/2024                                             $1,884.94                    $       (1,884.94)   $     (59,460.57)
                                                                                       $             -      $     (59,460.57)
                                                                                       $             -      $     (59,460.57)
                                                                                       $             -      $     (59,460.57)
                                                                                       $             -      $     (59,460.57)
                                                                                       $             -      $     (59,460.57)
                                                                                       $             -      $     (59,460.57)
                                                                                       $             -      $     (59,460.57)
                                                                                       $             -      $     (59,460.57)
                                                                                       $             -      $     (59,460.57)
                                                                                       $             -      $     (59,460.57)
    57               24          $   47,386.85   $      106,847.42    $            -   $      (59,460.57)
